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May 22, 2020

Hon. Kenneth M. Karas
United States District Court
300 Quarropas Street
White Plains, New York 10601

       re: United States v. Kinyon (Dante McNair), 16-cr-666 (KMK)
           U.S. Court of Appeals Dkt. No. 20-520

Dear Judge Karas:

       I have been appointed by the United States Court of Appeals for the Second Circuit to
represent Mr. McNair in his appeal from this court’s denial (in orders entered by endorsement on
December 23, 2019 and January 13, 2020), of his pro se motion to modify his sentence.

        This letter is a request that the Court provide me with a copy of the Statement of Reasons
issued in accordance with Fed. R. Crim. P. 32(h) in connection with Mr. McNair’s sentencing. I have
filed a brief pursuant to Anders v. California, 386 U.S. 738, 744 (1967). The Second Circuit’s
instructions for Anders briefs require that counsel file the statement of reasons in a case involving
imposition of a sentence constituting a variance from the United States Sentencing Commission
guidelines, as is the case with Mr. McNair, who recevied a below-guideline sentence.


                                              Very truly yours,

                                              /s/ Theodore S. Green
                                              Theodore S. Green

cc: All counsel (by ECF)
